          Case 3:22-mc-80072-SK Document 11 Filed 06/08/22 Page 1 of 3




     Kelsey Harclerode (SBN 313976)
 1   ZWILLGEN PLLC
 2   1900 M Street NW
     Suite 250
 3   Washington, DC 20036
     (202) 296-3585
 4   kelsey@zwillgen.com
 5
     Attorneys for Respondent
 6   YAHOO! INC.

 7                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 8

 9   OLANREWAJU SURAJU and THE HUMAN                Case No. 3:22-mc-80072
     AND ENVIRONMENTAL DEVELOPMENT
10   AGENDA,
                                                    YAHOO INC.’S CERTIFICATION OF
11                                                  INTERESTED ENTITIES OR PERSONS
                          Petitioners,
                                                    PURSUANT TO FED. R. CIV. P. 7.1 AND
12                                                  CIVIL L.R. 3-15
                   - to take discovery of -
13
     YAHOO! INC. and J.P. MORGAN CHASE,
14   INC.,
15
                          Respondents.
16

17

18

19

20

21

22

23

24

25

26

27

28
     YAHOO INC.’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO FED. R. CIV. P. 7.1
     AND CIVIL L.R. 3-15; CASE NO. 3:22-mc-80072
          Case 3:22-mc-80072-SK Document 11 Filed 06/08/22 Page 2 of 3




 1          Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Yahoo Inc. (“Yahoo”) files this
 2   corporate disclosure statement and hereby discloses, by and through its undersigned counsel, that
 3   Yahoo Inc. is an indirect wholly owned subsidiary of College Parent, L.P. Apollo Global
 4   Management, Inc., through investment funds, indirectly holds a majority interest in College Parent,
 5   L.P. Verizon Communications Inc. is an indirect minority owner of approximately 10% of Yahoo
 6   Inc. No other publicly held corporations own 10% or more of Yahoo Inc.’s stock.
 7          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
 8   associations of persons, firms, partnerships, corporations (including parent corporations) or other
 9   entities (1) have a financial interest of any kind in the subject matter in controversy or in a party to
10   the proceeding, or (ii) any other kind of interest that could be substantially affected by the outcome of
11   this proceeding:
12                 Yahoo Inc. is an indirect wholly owned subsidiary of College Parent, L.P.
13                 Apollo Global Management, Inc., through investment funds, indirectly holds a
14          majority interest in College Parent, L.P.
15                 Verizon Media is an indirect minority owner of approximately 10% in Yahoo Inc.
16

17   DATED: June 8, 2022                              ZWILLGEN LAW LLP

18
                                                 By: /s/ Kelsey Harclerode
19                                                   Kelsey Harclerode (SBN 313976)
                                                     ZWILLGEN PLLC
20
                                                     1900 M Street NW, Suite 250
21                                                   Washington, DC 20036
                                                     (202) 296-3585
22                                                   kelsey@zwillgen.com
                                                     Attorneys for Respondent
23                                                   YAHOO! INC.
24

25

26

27

28                                               1
     YAHOO INC.’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO FED. R. CIV. P. 7.1
     AND CIVIL L.R. 3-15; CASE NO. 3:22-mc-80072
          Case 3:22-mc-80072-SK Document 11 Filed 06/08/22 Page 3 of 3




 1                                      CERTIFICATE OF SERVICE
 2
                I hereby certify that on June 8, 2022, I electronically filed the foregoing YAHOO INC.’S
 3
     CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO FED. R.
 4
     CIV. P. 7.1 AND CIVIL L.R. 3-15 with the Clerk of the Court using the CM/ECF system, which
 5
     sent notification of such filing to the following:
 6

 7    Catherine Sweetser (SBN 271142)
      SCHONBRUN SEPLOW HARRIS
 8    HOFFMAN & ZELDES LLP
      9415 Culver Boulevard, #115
 9    Culver City, CA 90232
      Telephone: (310) 396-0731
10    Email: csweetser@sshhzlaw.com

11    Paul Hoffman, SBN 071244
      John C. Washington, SBN 315991
12    SCHONBRUN SEPLOW HARRIS
      HOFFMAN & ZELDES LLP
13    200 Pier Avenue # 226
      Hermosa Beach, CA 90254
14    Telephone: (310) 396-0731
      Fax: (310) 396-0731
15    Email: hoffpaul@aol.com
      jwashington@sshhzlaw.com
16

17
                                                          /s/ Kelsey Harclerode
18
                                                          Kelsey Harclerode (SBN 313976)
19                                                        ZWILLGEN PLLC
                                                          1900 M Street NW, Suite 250
20                                                        Washington, DC 20036
                                                          (202) 296-3585
21                                                        kelsey@zwillgen.com
                                                          Attorneys for Respondent
22
                                                          YAHOO! INC.
23

24

25

26

27

28
                                                 2
     YAHOO INC.’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO FED. R. CIV. P. 7.1
     AND CIVIL L.R. 3-15; CASE NO. 3:22-mc-80072
